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                       UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF CONNECTICUT
                              HARTFORD DIVISION

____________________________________
IN RE:                               :       CHAPTER 7
                                     :
CHARLIE SMITH,                      :        CASE NO. 14-21261 (JJT)
            DEBTOR.                 :
____________________________________:
PACIFIC INS. CO., LTD, A            :
SUBSIDIARY OF THE HARTFORD          :
FINANCIAL SERVICES GROUP a/s/o :
PETER PAN BUS LINES TRUST,          :
                                    :        ADV. PRO. No.: 14-02046
      PLAINTIFF                     :
                                    :
V.                                  :        RE: ECF Nos. 18, 19
                                    :
CHARLIE SMITH,                      :
                                    :
      DEFENDANT.                    :
____________________________________:

                                   APPEARANCES

Bruce H. Raymond, Esq.                             Attorney for the Plaintiff
Raymond Law Group, LLC
90 National Drive, Suite 3
Glastonbury, CT 06033

Kevin D. Wickless, Esq.                            Attorney for the Defendant
Kevin Wickless Law, LLC
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Norwich, CT 06360

Jody N. Cappello, Esq.                             Attorney for T.J. Morelli-Wolfe, Esq.
Winget, Spadafora & Schwartzberg, LLP
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                               MEMORANDUM OF DECISION

       Pacific Ins. Co. (“Creditor”, “Pacific” or “Plaintiff”) has moved for an order, under Rule

37 of the Federal Rules of Civil Procedure, Rule 7037 of the Federal Rules of Bankruptcy

Procedure and Rule 37 of the United States District Court of Connecticut Local Rules,

compelling the Debtor (“Debtor”, “Smith” or “Defendant”) to produce requested documents (the

“Motion to Compel Production from the Defendant”, ECF 18). Pacific has also moved for an

order, under Rules 37 and 45 of the Federal Rules of Civil Procedure, Rules 7037 and 9017 of

the Federal Rules of Bankruptcy Procedure and Local Rule 37, compelling Smith’s prior

counsel, Attorney T.J. Morelli-Wolfe, to testify and produce documents under subpoena, and

holding Morelli-Wolfe in contempt for his failure to comply with the subpoenas (the “Motion to

Enforce the Subpoenas”, ECF 19). For the reasons set forth herein, the Motion to Compel

Production from the Defendant is granted, and the Motion to Enforce the Subpoenas is granted in

part and denied in part.

       I.      BACKGROUND

       On October 6, 2014, Pacific commenced the above-captioned adversary proceeding

seeking, inter alia, to obtain a determination that Smith’s debt to Pacific is nondischargeable on

account of the Debtor’s alleged defalcation of more than seventy-thousand dollars belonging to

Pacific. Several years prior to the petition date, Pacific’s subrogor (“Peter Pan Bus Lines”) paid

benefits to Smith and his medical providers, following a car accident that Smith suffered during

his employment with Peter Pan Bus Lines. Smith, then represented by Attorney Morelli-Wolfe,

brought a personal injury action in Connecticut Superior Court (Charlie Smith v. Helmut

Steinnagel, No. KNL-CV09-5011162-S, hereinafter the “Negligence Action”) to recover

damages against the other motorist and ultimately obtained settlement proceeds of $100,000.00.
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         Despite receipt of prior written notice of Pacific’s lien under the Worker’s Compensation

Act, Smith failed to pay any portion of its lien from the recovered proceeds. Thereafter, Pacific

successfully prosecuted an action in Connecticut Superior Court against Smith to vindicate its

lien (Pacific Insurance Co., Ltd., a subsidiary of the Hartford Financial Services Group a/s/o

Peter Pan Bus Lines Trust v. Charlie Smith, No. HHD-CV11-6021109-S, hereinafter the “Lien

Action”), ultimately securing a total judgment amount of $75,429.56 on September 4, 2013.

Although Attorney Morelli-Wolfe represented Smith in this proceeding as well, by order dated

June 16, 2014, the Superior Court disqualified him from any further representation in the matter.

         Smith failed to pay any amount of the judgment and filed the pending Chapter 7 petition

on June 27, 2014. Despite his knowledge of the outstanding $75,429.56 judgment in favor of

Pacific, the Debtor identified the amount of Pacific’s claim as $1.00 on Schedule F of his

petition. Shortly thereafter, Pacific commenced the above-captioned adversary proceeding

seeking to deny the Debtor’s discharge under 11 U.S.C. §§ 727(a)(4)(A) and (a)(5), and/or to

adjudge the claim nondischargeable under 11 U.S.C. §§ 523(a)(2)(A)) and (a)(4).

         On December 22, 2014, Pacific served requests for production of documents upon the

Debtor. The requests sought, inter alia, documents “evidencing the distribution of the proceeds

of the settlement” of Smith’s personal injury claim against the other motorist, documents relating

to Pacific’s lien against those settlement proceeds, correspondence with Attorney Morelli-Wolfe

regarding Pacific’s lien and documents evidencing Smith’s fee agreement with Attorney Morelli-

Wolfe:

   3. Each and every document in the Defendant's possession concerning the matter of
      Charlie Smith vs. Helmut Steinnagel, in the Superior Court, Judicial District of
      New London at New London, Docket Number KNL-CV -09-50 11162-S.

   4. Each and every document in the Defendant’s possession concerning the matter of
      Pacific Insurance Company, Ltd., a subsidiary of The Hartford Financial Services
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         Group a/s/o Peter Pan Bus Lines Trust v. Charlie Smith, in the Superior Court for
         the Hartford Judicial District, Docket No. HHD-CV-11-6021109-S.

     5. Any and all documents referring or relating to the settlement of your claim against
        Helmut Steinnagel and/or his insurer.

     6. Any and all correspondence to and from Attorney T.J. Morelli-Wolfe regarding
        the settlement of your claim against Helmut Steinnagel and/or his insurer.

     7. Any and all documents referring or relating to Plaintiffs lien against the settlement
        of your claim against Helmut Steinnagel and/or his insurer.

     8. Any and all correspondence to and from Attorney T.J. Morelli-Wolfe regarding
        Plaintiff’s lien against the settlement of your claim against Helmut Steinnagel
        and/or his insurer.

     9. Any and all documents evidencing the distribution of the proceeds of the
        settlement of your claim against Helmut Steinnagel and/or his insurer.

     10. Any and all documents evidencing your fee agreement with Attorney T.J.
         Morelli-Wolfe relative to your claim against Helmut Steinnagel and/or his insurer.

     11. Any and all documents relative to your decision to not disclose as an asset a
         potential claim against Attorney T.J. Morelli-Wolfe in your bankruptcy petition in
         this matter, including the schedules, statements and forms annexed thereto.

     12. Any and all documents relative to your decision to not correctly disclose the
         amount of your liability to Plaintiff in your bankruptcy petition in this matter,
         including the schedules, statements and forms annexed thereto.

Plaintiff’s December 22, 2014 Request for Production, Exhibit A to Plaintiff’s Motion to Compel

Production from the Defendant.

         Smith served his response to the requests for production on February 5, 2015—nearly

two weeks after the response was due. 1 Rather than responding to each item or category, as Rule

37 dictates, Smith responded to all fourteen requests in a single manifestly-deficient paragraph:




1
  See Fed. R. Civ. P. 37(b)(2)(A) (absent intervening court order or stipulation by the parties, a “party to whom the
request is directed must respond in writing within 30 days after being served”).
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       ANSWERS: In response to questions Number 1-14 the Bankruptcy Petition
       Specifically pages 1 and 2 of Schedule F as well as B7 Statement of Affairs, the
       Trustee Package, a print out from the Judicial Website of his ongoing law suit,
       and page from his credit report attached hereto this document are the only
       documents used to prepare the Petition and to answer any interrogatory questions
       as well as attendance at the 341 Meeting of Creditors of which your office was
       not present.

Defendant’s Response to Plaintiff’s December 22, 2014 Request for Production, Exhibit B to

Plaintiff’s Motion to Compel Production from the Defendant. Thus, Smith did not object to the

production of any document or category of documents, much less assert that specific documents

would be withheld on account of the attorney-client privilege.

       Yet, it is undisputed that Smith’s production was devoid of documents responsive to

request three and requests five through twelve—the document categories tailored to Pacific’s

core allegation that Smith and Attorney Morelli-Wolfe disregarded Pacific’s lien and

misappropriated the settlement proceeds from the Negligence Action.

       On January 28, 2015, Pacific served both a subpoena duces tecum upon the Law Office

of T.J. Morelli-Wolfe, P.C. commanding production on February 4, 2015, and a separate

subpoena compelling Morelli-Wolfe to testify at a deposition scheduled for February 5, 2015.

The subpoena duces tecum sought substantially the same documents that Pacific had requested

from Smith, including, inter alia, documents concerning the settlement of Smith’s personal

injury claim, documents relating to Pacific’s lien against those settlement proceeds,

correspondence regarding Pacific’s lien and documents evidencing Smith’s fee agreement with

Attorney Morelli-Wolfe:

       1) Any and all documents evidencing communications with Helmut Steinnagel,
          his attorney(s) and/ or insurer, relative to a claim against Helmut Steinnagel,
          Allstate Insurance Claim No. 3965871695JBK, policy no. 08491D110 for date
          of loss 5/8/2007
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       2) Any and all correspondence with with [sic] Helmut Steinnagel, his attorney(s)
          and/ or insurer e [sic], relative to the settlement of a claim against Helmut
          Steinnagel, Allstate Insurance Claim No. 3965871695JBK, policy no.
          08491D110 for date of loss 5/8/2007

       3) Any and all documents relative to the lien of Plaintiff, relative to a claim by
          Charlie Smith and/or settlement thereof against Helmut Steinnagel, Allstate
          Insurance Claim No. 3965871695JBK, policy no. 08491D110 for date of loss
          5/8/2007

       4) Any and all documents relative to the lien of Plaintiff, relative to a claim by
          Charlie Smith and/or settlement thereof against Helmut Steinnagel, Allstate
          Insurance Claim No. 3965871695JBK, policy no. 08491D110 for date of loss
          5/8/2007 [duplication of paragraphs 3 and 4 in original]

       5) Any and all documents evidencing the settlement of a claim against Helmut
          Steinnagel, Allstate Insurance Claim No. 3965871695JBK, policy no.
          08491D110 for date of loss 5/8/2007

       6) Any and all documents relative to the payment of the settlement of a claim
          against Helmut Steinnagel, Allstate Insurance Claim No. 3965871695JBK,
          policy no. 08491D110 for date of loss 5/8/2007

       7) Any and all documents relative to your fee agreement with Charlie Smith
          relative to a claim against Helmut Steinnagel, Allstate Insurance Claim No.
          3965871695JBK, policy no. 08491D110 for date of loss 5/8/2007

       8) Any and all documents relative to the recipt [sic] of the proceeds from the
          settlement of a claim against Helmut Steinnagel, Allstate Insurance Claim No.
          3965871695JBK, policy no. 08491D110 for date of loss 5/8/2007

       9) Any and all documents relative to the distribution of the proceeds from the
          settlement of a claim against Helmut Steinnagel, Allstate Insurance Claim No.
          3965871695JBK, policy no. 08491D110 for date of loss 5/8/2007

       10) Any and all notes reflecting conversations between Charlie Smith and/or T.J.
          Morelli-Wolfe and Helmet Steinnagel and/or Allstate Insurance; and

       11) Any and all notes regarding the workers’ compensation lien and/or claim of
          reimbursement or subrogation of Pacific Insurance Company, LTd., The
          Hartford Financial Services Group, Inc., and/or Peter Pan Bus Lines Trust.

Plaintiff’s January 28, 2015 Subpoena Duces Tecum, Exhibit B to Plaintiff’s Motion to Enforce

the Subpoenas.
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       Attorney Morelli-Wolfe produced five pages of documents in response to the subpoena

duces tecum, which production consisted entirely of correspondence from insurance companies

involved in the Negligence Action. Morelli-Wolfe did not file a written objection to the

subpoena duces tecum at that time; instead, he claimed, at his February 5, 2015 deposition, that

each and every withheld document was protected from disclosure by either the attorney-client

privilege or the work product doctrine. Morelli-Wolfe did not produce a privilege log for

withheld documents, nor did he provide an estimate of the number of withheld documents, apart

from testifying that such documents numbered greater than ten.

       Pacific deposed the Defendant shortly after deposing Attorney Morelli-Wolfe on

February 5, 2015. At the deposition, Smith testified that he did not retain copies of the requested

documents. Smith then conferred with his counsel, Attorney Wickless, and the parties agreed that

Smith would obtain documents responsive to requests three and four (i.e. all documents related

to the underlying Negilgence Action and Pacific’s subsequent Lien Action) from Attorney

Morelli-Wolfe and produce them within thirty days. Later, during the deposition, Smith

unequivocally testified that he did not instruct Morelli-Wolfe to assert attorney-client privilege in

response to the subpeonea duces tecum, nor was he personally asserting the attorney-client

privilege with regard to Attorney Morelli-Wolfe’s representation in the Negligence Action or the

Lien Action. The parties then took a short recess to afford Smith an opportunity to discuss any

privilege concerns with Attorney Wickless, after which the following exchange occurred:

       Q:      With respect to matters that were the subject of Attorney Morelli-Wolfe’s
               representation of you in the negligence action or the lien action, are you
               asserting attorney/client privilege relative to communications between you
               and Attorney Morelli-Wolfe?

       A:      No.

                                      *       *       *
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       Q:      Would you instruct Attorney Morelli-Wolfe to provide to us the
               documents, and including his own personal notes, that he took in the
               course of representing you in the negligence action or lien action?

       A:      Would I ask him to give those to you?

       Q:      Yes.

       A:      Yes.

       Q:      Would you waive any claims of legal privilege you might have in those?

       A:      Yes.

February 5, 2015 Deposition of Charlie Smith, pp. 66-67, Exhibit C to Plaintiff’s Motion to

Compel Production of Documents From the Defendant.

       By email dated April 13, 2015, Pacific’s counsel informed Attorney Morelli-Wolfe that

Smith had waived any assertion of attorney-client privilege regarding documents subject to the

subpoena duces tecum. The email noted that Pacific had yet to receive any further document

production, and requested an opportunity to confer with Attorney Morelli-Wolfe to resolve the

dispute without the need for motion practice.

       As set forth in Morelli-Wolfe’s April 16, 2015 response, he met with Smith on April 15,

2015, and procured an affidavit from the Defendant purporting to nullify or revoke any waiver of

the attorney-client privilege as follows:

              At my February 5, 2015 deposition, I was not fully advised about the
       attorney-client privilege and did not knowingly and intelligently waive the
       attorney-client privilege. Having now been fully advised of the privilege and the
       implications therein, I do not waive the attorney-client privilege with respect to
       my conversations with Attorney T.J. Morelli-Wolfe or the contents of my file
       with his office.

April 15, 2015 Affidavit of Charlie Smith, Exhibit D to Plaintiff’s Motion to Compel Production

From the Defendant (the “Affidavit”).
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       By email dated April 16, 2015, Pacific’s counsel contacted Attorney Wickless, notified

him of the Affidavit, and requested that he prevail upon his client to obtain the requested

documents that remained in the possession of Attorney Morelli-Wolfe. Pacific’s effort to resolve

the dispute proved unsuccessful.

       On May 7, 2015, the Plaintiff filed both the Motion to Compel Production from the

Defendant and the Motion to Enforce the Subpoenas. On July 6, 2015, Attorney Morelli-Wolfe

filed objections to both subpoenas, which objections also purported to move for a protective

order. The Defendant filed an objection to the Motion to Compel on October 14, 2015.

       Neither Smith nor Attorney Morelli-Wolfe has refined the blanket claim of attorney-

client privilege. To date, neither Smith nor Attorney Morelli-Wolfe has furnished a privilege log.

       This proceeding, including the pending motions, was reassigned to this Court on

September 1, 2016. The Court held a status conference regarding the pending motions on

January 5 and 10, 2017.

       II.     MOTION TO COMPEL PRODUCTION FROM THE DEFENDANT

       Pacific argued that the Defendant should be compelled to produce all documents

responsive to its December 22, 2014 requests because the majority of responsive documents are

not privileged attorney-client communications, and any privilege that might attach to certain

documents has been waived, both by Smith’s express waiver during his deposition and by his

participation with Attorney Morelli-Wolfe to defraud Pacific out of funds it is legally entitled to.

The Defendant now unconvincingly argues that he was not fully advised about the consequences

of waiver at deposition, and therefore he did not knowingly and intelligently waive his attorney-

client privilege with regard to communications with Attorney Morelli-Wolfe. Smith’s narrow

focus on his alleged failure to obtain fulsome advice is largely irrelevant and wholly inadequate
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to justify his flagrant noncompliance with discovery obligations. Notwithstanding ample

grounds for finding waiver, the Defendant has utterly failed to meet his burden of establishing

the application of the attorney-client privilege, in the first instance.

        A party invoking the attorney-client privilege bears the burden to establish the elements

of the privilege: “(1) a communication between client and counsel that (2) was intended to be

and was in fact kept confidential, and (3) was made for the purpose of obtaining or providing

legal advice.” In re Cty. of Erie, 473 F.3d 413, 419 (2d Cir. 2007). 2 “If the party invoking the

privilege does not provide sufficient detail to demonstrate fulfillment of the legal requirements

for application of the privilege, his claim will be rejected.” United States v. Constr. Prods.

Research, Inc., 73 F.3d 464, 473 (2d Cir.), cert. denied, 519 U.S. 927 (1996). Blanket assertions

that the privilege should apply are insufficient to warrant protection. P. & B. Marina, Ltd. P'ship

v. Logrande, 136 F.R.D. 50, 53–54 (E.D.N.Y. 1991), aff'd sub nom. P&B Marina Ltd. v.

LoGrande, 983 F.2d 1047 (2d Cir. 1992). The party claiming the privilege must establish “the

applicability of the privilege to the particular circumstances and discovery requests.” Id. “A party

seeking to avoid discovery cannot hide behind bald statements of ‘privilege’ and ‘work-product’

and expect the court to supply the rational[e] to support the claims.” Breon v. Coca-Cola Bottling

Co. of New England, 232 F.R.D. 49, 55 (D. Conn. 2005).

        The Defendant’s blanket claim of attorney-client privilege “with respect to [his]

conversations with Attorney T.J. Morelli-Wolfe or the contents of [his] file” presents precisely

the type of spurious and conclusory claim that must be rejected. The Defendant has not carried

his burden to establish the application of the attorney-client privilege to specific


2
 Where, as here, the Court is determining questions of federal substantive law, “[t]he common law--as interpreted
by United States courts in the light of reason and experience--governs a claim of privilege[.]” Fed. R. Evid. 501
(made applicable to these proceedings by Fed. R. Bankr. P. 9017); In re Tippy Togs of Miami, Inc., 237 B.R. 236,
237 (Bankr. S.D. Fla. 1999).
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communications. Indeed, he has not even sought to do so. Therefore, the record is devoid of

evidence establishing the necessary elements of attorney-client privilege as to a single withheld

document.

         Many, and perhaps most, of the withheld documents, including financial records

evidencing the disposition of proceeds from the Negligence Action and Smith’s fee agreement

with Attorney Morelli-Wolfe therein, are unquestionably not privileged attorney-client

communications. See Thomas v. F.F. Fin., Inc., 128 F.R.D. 192, 194 (S.D.N.Y. 1989) (fee

agreements are not confidential attorney-client communications). Moreover, any financial

records or other papers in the Defendant’s ‘file’ “acquired no special protection from the simple

fact of being turned over to an attorney.” Colton v. United States, 306 F.2d 633, 639 (2d Cir.

1962).

         The Defendant’s belated assertion of privilege in his Affidavit also ignores the fact that

his response to Pacific’s Requests for Production asserted no objections. Parties must respond to

production requests within thirty days after being served. Fed. R. Civ.P. 34(b)(2)(A). “A party

who fails to file timely objections waives all objections, including those based on privilege or

work product.” Horace Mann Ins. Co. v. Nationwide Mut. Ins. Co., 238 F.R.D. 536, 538 (D.

Conn. 2006) (quoting Ramirez v. County of Los Angeles, 231 F.R.D. 407, 409 (C.D. Cal. 2005)).

The Defendant’s failure to object, by itself, provides sufficient grounds to deem all objections

waived, including those based on privilege. See id.; see also Spencer v. Kenny, 2015 WL

6958009, at *2 (D. Conn. Nov. 10, 2015).

         To withhold otherwise discoverable information based on the attorney-client privilege, a

party must “expressly make the claim” and “describe the nature of the documents,

communications, or tangible things not produced or disclosed . . . in a manner that . . . will
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enable other parties to assess the claim.” Fed. R. Civ. P. 26(b)(5)(A). Failure to comply with

these requirements may be deemed a waiver of privilege. See Fed.R.Civ.P. 26(b)(5), Advisory

Committee Note (1993) (“To withhold materials without such notice is contrary to the rule,

subjects [a] party to sanctions under Rule 37(b)(2), and may be viewed as a waiver of the

privilege or protection.”).

       Further, Local Rule of Civil Procedure 26(e) requires that “when a claim of privilege or

work product protection is asserted in response to a discovery request for documents or

electronically stored information, the party asserting the privilege or protection shall serve on all

parties a privilege log . . . .” D. Conn. L. Civ. R. 26(e). “The privilege log is not simply a

technicality, it is [an] essential tool which allows the parties and the court to make an intelligent

decision as to whether a privilege or immunity exists.” Breon v. Coca-Cola Bottling Co. of New

England, 232 F.R.D. 49, 55 (D. Conn. 2005). Naturally, then, failure to provide a privilege log

“is sufficient grounds to deem the privilege waived.” Horace Mann., 238 F.R.D. at 538 (citing

Chase Manhattan Bank, N.A. v. Turner & Newall, PLC, 964 F.2d 159, 166 (2d Cir. 1992));

Breon v. Coca-Cola Bottling Co. of New England, 232 F.R.D. 49, 55 (D. Conn. 2005); Ruran v.

Beth El Temple of W. Hartford, Inc., 226 F.R.D. 165, 169 (D. Conn. 2005).

       Having failed to claim attorney-client privilege with regard to a single document request,

the Defendant has also failed to provide a privilege log, despite withholding production for more

than two years. As such, the Defendant has waived any privilege that might have otherwise

shielded certain documents from disclosure.

       At his deposition, moreover, the Defendant repeatedly consented to the disclosure of all

communications with Attorney Morelli-Wolfe in connection with the Negligence Action and the

Lien Action. It is well-settled, indeed, “hornbook law that the voluntary disclosure or consent to
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the disclosure of a communication, otherwise subject to a claim of privilege, effectively waives

the privilege.” In re Penn Cent. Commercial Paper Litig., 61 F.R.D. 453, 463 (S.D.N.Y. 1973).

       More than two months after he consented to this blanket disclosure, the Defendant

attempted—through the Affidavit—to reassert his attorney-client privilege. In the Second

Circuit, however, “the privilege cannot survive if the privilege holder lacks the continuing

intention to maintain confidentiality, irrespective of whether the communications actually were

disclosed.” Bowne of N.Y. City, Inc. v. AmBase Corp., 150 F.R.D. 465, 482 (S.D.N.Y. 1993)

(citing In re Horowitz, 482 F.2d 72, 82 (2d Cir. 1973)); see also United States v. Krasnov, 143

F.Supp. 184, 191 (E.D. Pa. 1956), aff’d per curiam, 355 U.S. 5, 78 S.Ct. 34, 2 L.Ed.2d 21 (1957)

(“The privilege once waived cannot be regained . . . .”).

       The Defendant’s alleged lack of understanding, at the time of his consent, does not alter

this conclusion. Waiver may even occur if a party “does not intentionally relinquish a known

right.” In re Kidder Peabody Sec. Litig., 168 F.R.D. 459, 468 (S.D.N.Y. 1996) (internal

quotation omitted).

       The circumstances surrounding the Defendant’s sudden appreciation for his attorney-

client privilege do, however, warrant scrutiny. More than two months after he consented to

disclosure, yet only two days after Attorney Morelli-Wolfe learned of this waiver, the Defendant

met with Attorney Morelli-Wolfe and executed the Affidavit. It was Attorney Morelli-Wolfe,

therefore—the same attorney who had been disqualified as the Defendant’s counsel in the Lien

Action and accused of conspiring with the Defendant to perpetrate fraud—that counseled Smith

to revoke his waiver. This sequence of events lends support to Pacific’s invocation of the crime

fraud exception to the attorney-client privilege. “By its nature,” however, “the crime-fraud

exception can only apply, if it applies at all, to instances where the attorney-client privilege itself
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is first established.” Renner v. Chase Manhattan Bank, 2001 WL 1819215, at *2 (S.D.N.Y. July

13, 2001). Where, as here, the privilege has been waived or relinquished, the Court need not

address this exception at this time.

       The Defendant has failed to establish the application of the attorney-client privilege, and

waived any such privilege many times over. All documents responsive to Pacific’s December 22,

2014 Request for Production must be produced within fifteen (15) days of the date of this

Decision.

       III.     MOTION TO ENFORCE THE SUBPOENAS

       Pacific argued that Attorney Morelli-Wolfe should be compelled to testify again and to

produce all documents subject to the subpoena duces tecum, because he erroneously invoked the

attorney-client privilege to withhold non-privileged testimony and documents. Pacific also

contended that Attorney Morelli-Wolfe should be held in contempt for his failure to comply with

the subpoenas. Much like the Defendant, Attorney Morelli-Wolfe responded that the Defendant’s

express waiver of his attorney-client privilege was ineffective and, in any event, occurred after

he had properly invoked the privilege during his deposition. He therefore moved for a protective

order to forestall the undue burden that he believes another deposition would pose. Attorney

Morelli-Wolfe further argued that he properly withheld documents shielded by both the attorney-

client privilege and the work-product doctrine and, accordingly, moved for a protective order

shielding such documents from disclosure and disputed the contention that he should be held in

contempt for protecting privileged information.

               A. Legal Standards

       Pursuant to Rule 45 of the Federal Rules of Civil Procedure, a party may serve a

subpoena commanding a nonparty to “attend and testify” or “produce designated documents”.
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Fed. R. Civ. P. 45(a). To safeguard against an overbroad or abusive subpoena, Rule 45 entitles a

person commanded to produce documents to serve a written objection on the party or attorney

designated in the subpoena. Fed. R. Civ. P. 45(d)(2)(B). “The objection must be served before

the earlier of the time specified for compliance or 14 days after the subpoena is served.” Id.

Upon timely motion, a court must quash or modify a subpoena that “requires disclosure of

privileged or other protected matter, if no exception or waiver applies; or subjects a person to

undue burden.” Fed. R. Civ. P. 45(d)(3)(A). “The fourteen-day time limitation to serve written

objections to a subpoena is crucial as failure to do so typically constitutes a waiver of such

objections.” In re Corso, 328 B.R. 375, 384 (E.D.N.Y. 2005); Concord Boat Corp. v. Brunswick

Corp., 169 F.R.D. 44, 48 (S.D.N.Y. 1996) (same). The fourteen-day time limitation applies with

equal force to assertions of privilege. In re DG Acquisition Corp., 151 F.3d 75, 81 (2d Cir.1998).

“A late objection may be allowed for good cause where the subpoena is overbroad so that it goes

beyond the boundaries of fair discovery, the recipient is a non-party acting in good faith, and the

counsel for both the recipient and the issuing party were in contact concerning the recipient's

compliance before the ultimate challenge to the subpoena.” In re Parikh, 397 B.R. 518, 525

(Bankr. E.D.N.Y. 2008).

       Parties may obtain discovery regarding any non-privileged matter that is relevant to the

pending proceeding and proportional to the needs of the case. Fed. R. Civ. P. 26(b)(1).

Notwithstanding this breadth, any person from whom discovery is sought may move for a

protective order limiting the scope of discovery. Fed. R. Civ. P. 26(c). When the person seeking

a protective order demonstrates good cause, the court may “issue an order to protect a party or

person from annoyance, embarrassment, oppression, or undue burden or expense, including . . .

forbidding the disclosure or discovery”. Fed. R. Civ. P. 26(c)(1). “The party resisting discovery
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bears the burden of showing why discovery should be denied.” Chamberlain v. Farmington Sav.

Bank, 247 F.R.D. 288, 290 (D. Conn. Nov. 30, 2007) (citing Blankenship v. Hearst Corp., 519

F.2d 418, 429 (9th Cir.1975)).

       However, a motion for a protective order “must be made in a timely manner, which

ordinarily means that the motion must be made by the date set for the discovery or production

unless there was no opportunity to so move.” Mahar v. U.S. Xpress Enterprises, Inc., 688 F.

Supp. 2d 95, 113 (N.D.N.Y. 2010). Failure to timely move for a protective order may result in a

waiver. Ehrlich v. Inc. Vill. of Sea Cliff, 2007 WL 1593241, at *4 (E.D.N.Y. June 1, 2007);

United States v. Int’l Bus. Mach. Corp., 70 F.R.D. 700, 701 (S.D.N.Y.1976).

       Further, “[t]he motion must include a certification that the movant has in good faith

conferred or attempted to confer with other affected parties in an effort to resolve the dispute

without court action.” Fed. R. Civ. P. 26(c)(1) (emphasis added). Local Rule of Civil Procedure

37 likewise mandates that “[n]o motion pursuant to Rules 26 through 37, Fed.R.Civ.P. shall be

filed unless counsel making the motion has conferred with opposing counsel and discussed the

discovery issues between them in detail in a good faith effort to eliminate or reduce the area of

controversy, and to arrive at a mutually satisfactory resolution.” Failure to include such a

certification constitutes grounds for denial, though a court may nonetheless consider the merits

of a motion “where failure to do so ‘may unduly prejudice the movant.’” Orillaneda v. French

Culinary Inst., 2011 WL 4375365, at *5 (S.D.N.Y. Sept. 19, 2011) (quoting Pulsecard, Inc. v.

Discover Card Servs., 168 F.R.D. 295, 302 (D. Kan.1996)).

               B. Discussion

       Attorney Morelli-Wolfe’s opposition to the subpoena duces tecum is meritless. Despite

withholding all but five pages of responsive documents, and refusing to provide a privilege log,
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he first filed a written objection to the subpoena on July 6, 2015—five months after the subpoena

was served. He, thus, waived all objections, including those based on the work product doctrine.

See Corso, 328 B.R. 375; United States v. Int'l Bus. Machines Corp., 70 F.R.D. 700, 701–02

(S.D.N.Y. 1976) (response to subpoena that was 68 days late was untimely and waived right to

object); see also In re DG Acquisition Corp., 151 F.3d 75, 81 (2d Cir.1998) (all objections to

subpoena duces tecum, including those asserting any privilege, should be lodged within 14

days). 3

           Moreover, Federal Rule of Civil Procedure 45 requires that a person “withholding

subpoenaed information under a claim that it is privileged or subject to protection as trial-

preparation material must . . . expressly make the claim and describe the nature of the withheld

documents . . . in a manner that . . . will enable the parties to assess the claim.” Fed. R. Civ. P.

45(e)(2). It is undisputed that Attorney Morelli-Wolfe utterly failed to do so.

           Quite simply, there can be no doubt that Attorney Morelli-Wolfe has failed to meet his

burden of establishing the application of the work product doctrine, given his failure to provide a

privilege log or to otherwise identify allegedly-protected documents. “This burden can be met

only by an evidentiary showing based on competent evidence . . . and cannot be ‘discharged by

mere conclusory or ipse dixit assertions.’” Bowne, 150 F.R.D. at 470 (quoting von Bulow by

Auersperg v. von Bulow, 811 F.2d 136, 146 (2d Cir. 1987) (internal citations omitted).

           Further, Attorney Morelli-Wolfe cannot refuse production on account of an alleged

attorney-client privilege. Unlike the work product protection, “the attorney-client privilege

belongs solely to the client”, Lama v. Malik, 25 F. Supp. 3d 316, 319 (E.D.N.Y. 2014), who in

this case has both affirmatively waived and failed to protect his privilege.



3
    None of the good cause exceptions permitting late objections applies here.
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       Attorney Morelli-Wolfe’s motion for a protective order is also without merit. The motion

was untimely, contained only conclusory allegations of privilege and work product protection,

and failed to include the required certification that he “in good faith conferred or attempted to

confer with other affected parties in an effort to resolve the dispute without court action.” Fed. R.

Civ. P. 26(c)(1). Nothing in the record suggests that Attorney Morelli-Wolfe attempted to confer

with the Plaintiff to resolve the dispute. Far from making a “good faith effort to eliminate or

reduce the area of controversy”, as Local Rule 37 mandates, Attorney Morelli-Wolfe withheld

nearly every responsive document and spouted conclusory objections.

       The motion for a protective order is, therefore, denied, and the motion to enforce the

subpoena duces tecum is granted.

       The motion to require Attorney Morelli-Wolfe to attend and testify at another deposition

is denied without prejudice. A further deposition of Attorney Morelli-Wolfe may prove

unnecessary in light of the other items ordered disclosed herein.

       The last branch of the motion seeks an order holding Attorney Morelli-Wolfe in contempt

for his failure to obey the subpoena duces tecum. Federal Rule of Civil Procedure 45 provides

that a court “may hold in contempt a person who, having been served, fails without adequate

excuse to obey the subpoena or an order related to it.” Fed. R. Civ. P. 45(g). A person may be

held in civil contempt for failure to comply with a subpoena so long as the subpoena the

recipient failed to comply with is clear and unambiguous, the proof of noncompliance is clear

and convincing, and the recipient has not diligently attempted to comply in a reasonable manner.

Parikh, 397 B.R. at 527. In addition, the recipient must be afforded notice of the alleged

contempt and an opportunity to be heard. Id. Each of these requirements has been met here.

Attorney Morelli-Wolfe withheld nearly every document subject to the subpoena, without filing
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a timely written objection, based on blanket claims of attorney-client privilege and work product

protection. Such unsupported and unsupportable claims of privilege do not qualify as an

“adequate excuse”. Therefore, Attorney Morelli-Wolfe shall be fined in the amount of $150.00

per day4 from the date herein until he produces the subpoenaed documents. Further, Attorney

Morelli-Wolfe shall pay, within ten (10) days, the sum of $1,000.00 to Pacific to compensate it

for those fees and expenses incurred by it in the prosecution of these motions.

        IT IS SO ORDERED at Hartford, Connecticut this 29th day of March 2017.




4
 Any such sums due shall be payable to the Clerk of the U.S. Bankruptcy Court for the District of Connecticut and
shall be payable on or before the first of every month.
